                                            3:19-cv-03142-CSB-EIL # 10         Page 1 of 3
                                                                                                                       E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                                  Friday, 14 June, 2019 09:45:00 AM
                                                                                                Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Central District
                                                  __________          of__________
                                                             District of Illinois

                   SPEECH FIRST, INC.                             )
                             Plaintiff                            )
                                v.                                )      Case No.   3:19-CV-3142-CSB
              TIMOTHY L. KILLEEN, ET AL.                          )
                            Defendant                             )

                                                   APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          ALL DEFENDANTS - See attached List                                                                             .


Date:          06/14/2019                                                               /s/ Ishan K. Bhabha
                                                                                          Attorney’s signature


                                                                                Ishan K. Bhabha (DC Bar # 1015673)
                                                                                      Printed name and bar number
                                                                                       Jenner & Block LLP
                                                                                     1099 New York Ave., NW
                                                                                            Suite 900
                                                                                      Washington, DC 20001
                                                                                                Address

                                                                                       ibhabha@jenner.com
                                                                                             E-mail address

                                                                                           (202) 637-6327
                                                                                           Telephone number

                                                                                           (202) 639-6066
                                                                                              FAX number
                 3:19-cv-03142-CSB-EIL # 10   Page 2 of 3




                 SPEECH FIRST, INC. V. KILLEEN, ET AL.


                         LIST OF DEFENDANTS


TIMOTHY L. KILLEEN; ROBERT J. JONES; DANITA M. BROWN YOUNG; RHONDA
KIRTS; JUSTIN BROWN; JANUARY BOTEN, DEBRA IMEL, RACHAEL AHART,
MATTHEW PINNER, ARIANNA HOLTERMAN, DEMENTRO POWELL, JAMIE
SINGSON, KIMBERLY SOUMAR; LOW A MWILAMBWE; ALMA R. SEALINE;
PATRICIA K. ANTON; RAMON CEPEDA, KAREEM DALE, DONALD J. EDWARDS,
RICARDO ESTRADA, PATRICIA BROWN HOLMES, NAOMI D. JAKOBSSON, STUART
C. KING, EDWARD L. MCMILLAN, JILL B. SMART, TRA YSHA WN M.W. MITCHELL,
DARIUS M. NEWSOME, SHAINA HUMPHREY, GOVERNOR J.B. PRITZKER
                            3:19-cv-03142-CSB-EIL # 10         Page 3 of 3

                               UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS



            SPEECH FIRST, INC.                    )
                    Plaintiff                     )
                       v.                         )     Case No. 3:19-CV-3142-CSB
        TIMOTHY L. KILLEEN, ET AL.                )
                   Defendant                      )


                                   CERTIFICATE OF SERVICE

I certify that on _______________,
                   06/14/2019      I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

 Michael Connolly, 3033 Wilson Blvd Suite 700, Arlington, VA 22201, Counsel for Plaintiff First Speec
_____________________________________________________________________________,

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

_____________________________________________________________________________.
 N/A




                                                              /s/ Ishan K. Bhabha
                                                              Attorney’s signature

                                                      Ishan K. Bhabha (DC Bar # 1015673)
                                                         Printed name and bar number
                                                             Jenner & Block LLP
                                                           1099 New York Ave., NW
                                                                  Suite 900
                                                            Washington, DC 20001
                                                                    Address

                                                             ibhabha@jenner.com
                                                                E-mail address

                                                                (202) 637-6327
                                                               Telephone number

                                                                (202) 639-6066
                                                                 Fax number
